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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             VICTORIA DIVISION

IN RE:                               §
                                     §
BUCCANEER RESOURCES, L.L.C., et al., §             CASE NO. 14-60041 (DRJ)
                                     §                   CHAPTER 11
      Debtors                        §
                                     §
                                     §
CURTIS BURTON                        §
                                     §
      Plaintiff,                     §
                                     §
VS.                                  §             CIVIL ACTION NO. 16-00039
                                     §
MERIDIAN CAPITAL INTERNATIONAL FUND, §
MERIDIAN CAPITAL CIS FUND,           §
FRED M. TRESCA, RANDY A. BATES, AND §
BRANTA II, L.L.C.                    §
                                     §
      Defendants                     §

                        JOINT NOTICE OF APPEAL TO THE
             UNITED STATES COURT OF APPEALS FOR THE FIFTH CIRCUIT

       Meridian Capital CIS Fund, Meridian Capital International Fund, Branta II, L.L.C., Fred
M. Tresca, and Randy A. Bates, Appellants in the above-captioned appeal, jointly appeal to the
United States Court of Appeals for the Fifth Circuit from the final Memorandum Opinion and
Order Affirming in Part and Reversing in Part Bankruptcy Court Orders (Dkt # 34) of the
United States District Court for the Southern District of Texas entered in this case on December
6, 2017.

       The parties to the Memorandum Opinion and Order appealed from, and the names and
addresses of their respective attorneys, are as follows:




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Names of Appellants:

       Meridian Capital CIS Fund and            Fred Tresca, Randy A. Bates, and
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Dated: January 3, 2018

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